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                       UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION



MARTY WHITFIELD                                    )
FRED BACKMAN, EDWIN BLAINE,                        )
LEON BROWN, MARK FRAZIER,                          )
ERROL HART, DAVID JOHNSON,                         )
JOHNNY JOHNSON, JASON MILLS,                       )
DEXTER ROWLAND,                                    )
DEVON THOMPSON,                                    )       Civil No. 1: 15-cv-01959-LMM
LOLITA WILLIAMS, individually and                  )
on behalf of all others similarly situated,        )
                                                   )
       Plaintiffs,                                 )
                                                   )
 vs.                                               )
                                                   )
ENDEAVOR TELECOM, INC.,                            )
                                                   )
       Defendant.                                  )
�������-                                           )

               Plt8P881W ORDER APPROVING SETTLEMENT AND
                 DISMISSING THE ACTION WITH PREJUDICE


       This action came before the Court on the Parties' Joint Motion for an Order


Approving Settlement and Dismissing the Action with Prejudice. (Doc. No. 12).


       Therein, the parties properly sought Final Approval of the terms of their


Settlement.   See Lynn's Food Stores, Inc.        v.   United States, 679 F.2d 1350, 1353


(11th Cir. 1982) ("When employees bring a private action for back wages under


the FLSA, and present to the district court a proposed settlement, the district court


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may enter a stipulated judgment after scrutinizing the settlement for fairness.")


(citations omitted). The Court held a telephonic hearing on the matter on March      28,

2016.

        Having reviewed the Joint Motion, the record, and the details of the


settlement and having conducted a hearing on the matter, the Court concludes that


the terms of the settlement    (1) are fair to the named Plaintiffs and Opt-in Plaintiffs

(collectively "Plaintiffs");   (2) reflect a reasonable compromise over the issues that

are actually in dispute in this case; and (3) demonstrate a good-faith intention by


the parties that the Plaintiffs' claims be fully and finally resolved.


        Furthermore, the settlement    (1) was reached in an adversarial context as the

result of arms-length negotiations between the parties;          (2) arrived at a fair

disposition of the claims; and (3) arrived at a fair and reasonable settlement of the


attorneys' fees and costs of litigation. See generally, Lynn's Food Stores,    679 F.2d

at 1353.


        The only issue the Court has with the settlement is the confidentiality


provision contained in Paragraph 3 of the agreement. The Court finds that


Paragraph 3 impermissibly frustrates the implementation of the FLSA and is


therefore STRICKEN from the agreement.




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      Subject to the Court's ruling as to Paragraph 3, the Motion is GRANTED


and the settlement is hereby APPROVED by the Court as a final, fair, adequate,


and reasonable resolution of this Action.


      IT IS FURTHER ORDERED that this matter be DISMISSED WITH


PREJUDICE.


      IT IS SO ORDERED this 1st day of April, 2016.




                                Leigh Martin Ma y
                                UNITED STATES DISTRICT JUDGE




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